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                         UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                             219 SOUTH DEARBORN STREET
                                CHICAGO, ILLINOIS 60604


    NOTIFICATION OF CHANGE OF ATTORNEY ADDRESS OR NAME

1. Complete this form and e-file it, using the Notice of Change of Address event, in each
   case that you list below.
2. Update your contact information in CM/ECF. Click HERE for update instructions.


Name Rachel Abrams

Firm     Levin Simes Abrams LLP

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ARDC (Illinois State Bar members, only) 6328972

If you have previously filed an appearance with this court using a different name, enter that name.


List all active cases in which you currently have an appearance on file.

Case Number                      Case Title                        Assigned Judge
See Exhibit 1                    TRT Product Liability             Matthew F. Kennelly




 /s/Rachel Abrams                                            12/07/2018
_______________________________                              ___________________BBBB
Signature of Attorney                                        Date


Rev. 0127201
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                                                           EXHIBIT 1

                                                                                     MDL
                                                                     Docket
Last Name First Name                    Jurisdiction                                Docket
                                                                    Numbers
                                                                                   Number
Abbey         Bruce         USDC Northern District of Illinois   1:16-cv-01197   14-cv-01748
Aranda        Harold        USDC Northern District of Illinois   1:14-cv-08410   14-cv-01748
Arnold        Marvin        USDC Northern District of Illinois   1:15-cv-01236   14-cv-01748
Braun         Kenneth       USDC Northern District of Illinois   1:15-cv-08511   14-cv-01748
Brewer        Marvin        USDC Northern District of Illinois   1:16-cv-02607   14-cv-01748
Broussard     William Sr.   USDC Northern District of Illinois   1:15-cv-01006   14-cv-01748
Christ        Richard       USDC Northern District of Illinois   1:14-cv-05054   14-cv-01748
Cross         Roderick      USDC Northern District of Illinois   1:15-cv-03936   14-cv-01748
Dander        Craig         USDC Northern District of Illinois   1:15-cv-00779   14-cv-01748
D'Annunzio    Raymond       USDC Northern District of Illinois   1:15-cv-07344   14-cv-01748
Ehlers        Leon          USDC Northern District of Illinois   1:15-cv-04830   14-cv-01748
Gentilini     Paul          USDC Northern District of Illinois   1:15-cv-08513   14-cv-01748
Graff         John          USDC Northern District of Illinois   1:15-cv-00982   14-cv-01748
Graham        Bobby         USDC Northern District of Illinois   1:15-cv-06492   14-cv-01748
Gross         Stephen       USDC Northern District of Illinois   1:14-cv-02934   14-cv-01748
Haidak        Paul          USDC Northern District of Illinois   1:14-cv-09167   14-cv-01748
Heath         Edward        USDC Northern District of Illinois   1:14-cv-03156   14-cv-01748
Heimnick      Mark          USDC Northern District of Illinois   1:15-cv-2031    14-cv-01748
Ingram        Ray           USDC Northern District of Illinois   1:15-cv-04721   14-cv-01748
Johnson       Wayne         USDC Northern District of Illinois   1:15-cv-08622   14-cv-01748
Kelly         Willie        USDC Northern District of Illinois   1:15-cv-08514   14-cv-01748
Kos           Dennis        USDC Northern District of Illinois   1:17-cv-01963   14-cv-01748
Leppard       Larry         USDC Northern District of Illinois   1:15-cv-02588   14-cv-01748
Lohan         William       USDC Northern District of Illinois   1:14-cv-07025   14-cv-01748
Lozada        Roberto       USDC Northern District of Illinois   1:15-cv-04841   14-cv-01748
MacMillan     Michael       USDC Northern District of Illinois   1:16-cv-04900   14-cv-01748
Marchington   Samuel        USDC Northern District of Illinois   1:16-cv-00747   14-cv-01748
Marciniak     Michael       USDC Northern District of Illinois   1:16-cv-01186   14-cv-01748
Martin        Bobby         USDC Northern District of Illinois   1:14-cv-08990   14-cv-01748
May           Samuel        USDC Northern District of Illinois   1:15-cv-04062   14-cv-01748
McCollum      Ray           USDC Northern District of Illinois   1:16-cv-03340   14-cv-01748
McKenzie      Philip        USDC Northern District of Illinois   1:15-cv-06804   14-cv-01748
McLaughlin    Michael       USDC Northern District of Illinois   1:14-cv-04816   14-cv-01748
McLeod        John          USDC Northern District of Illinois   1:14-cv-08764   14-cv-01748
Miller        Garry         USDC Northern District of Illinois   1:16-cv-05586   14-cv-01748
Misetich      Ronald        USDC Northern District of Illinois   1:16-cv-00589   14-cv-01748
Morales       Arturo        USDC Northern District of Illinois   1:15-cv-02033   14-cv-01748
Morris        Dale          USDC Northern District of Illinois   1:15-cv-6939    14-cv-01748
Moughan       Dennis        USDC Northern District of Illinois   1:15-cv-05584   14-cv-01748
Mullenix      James         USDC Northern District of Illinois   1:14-cv-02914   14-cv-01748
Neely         Elbert        USDC Northern District of Illinois   1:14-cv-09526   14-cv-01748
Nieves        Harry         USDC Northern District of Illinois   1:14-cv-03166   14-cv-01748
Nowak         Stephen       USDC Northern District of Illinois   1:14-cv-03630   14-cv-01748
Olds          David         USDC Northern District of Illinois   1:14-cv-03007   14-cv-01748
Olterman      Kenneth       USDC Northern District of Illinois   1:16-cv-00619   14-cv-01748
Patrick       Fred          USDC Northern District of Illinois   1:14-cv-02903   14-cv-01748
Patten Sr.    Tommy         USDC Northern District of Illinois   1:16-cv-01180   14-cv-01748
Paulus        Gene          USDC Northern District of Illinois   1:15-cv-03062   14-cv-01748
Pehl          Harvey        USDC Northern District of Illinois   1:15-cv-05231   14-cv-01748


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                                                       EXHIBIT 1

                                                                                 MDL
                                                                 Docket
Last Name First Name                Jurisdiction                                Docket
                                                                Numbers
                                                                               Number
Phelps       Dale       USDC Northern District of Illinois   1:14-cv-05049   14-cv-01748
Piasecki     Richard    USDC Northern District of Illinois   1:16-cv-03000   14-cv-01748
Poynter      Jerry      USDC Northern District of Illinois   1:15-cv-00969   14-cv-01748
Puckett      Willie     USDC Northern District of Illinois   1:16-cv-00738   14-cv-01748
Radaj        Patrick    USDC Northern District of Illinois   1:15-cv-03934   14-cv-01748
Rader Jr.    Lee        USDC Northern District of Illinois   1:15-cv-04574   14-cv-01748
Richard      Emile      USDC Northern District of Illinois   1:15-cv-08518   14-cv-01748
Rogers       Jeffery    USDC Northern District of Illinois   1:15-cv-11215   14-cv-01748
Ruud         Jack       USDC Northern District of Illinois   1:15-cv-07168   14-cv-01748
Santa Cruz   Thomas     USDC Northern District of Illinois   1:15-cv-05214   14-cv-01748
Short        Dale       USDC Northern District of Illinois   1:14-cv-09414   14-cv-01748
Sicard       William    USDC Northern District of Illinois   1:14-cv-03632   14-cv-01748
Sikes        Lawrence   USDC Northern District of Illinois   1:14-cv-03163   14-cv-01748
Skadal       James      USDC Northern District of Illinois   1:15-cv-02955   14-cv-01748
Smith        Stanley    USDC Northern District of Illinois   1:15-cv-08599   14-cv-01748
Stockton     Clyde      USDC Northern District of Illinois   1:15-cv-01744   14-cv-01748
Tomson       John       USDC Northern District of Illinois   1:15-cv-08948   14-cv-01748
Truax        Roccie     USDC Northern District of Illinois   1:14-cv-02935   14-cv-01748
Trusty       Joe        USDC Northern District of Illinois   1:15-cv-01015   14-cv-01748
Ward         Thomas     USDC Northern District of Illinois   1:14-cv-03168   14-cv-01748
Weiss        David      USDC Northern District of Illinois   1:15-cv-08625   14-cv-01748
Whitehead    Wallace    USDC Northern District of Illinois   1:15-cv-03896   14-cv-01748
Willis Jr.   Riley      USDC Northern District of Illinois   1:14-cv-08608   14-cv-01748
Wilson       Charles    USDC Northern District of Illinois   1:16-cv-02377   14-cv-01748
Windham      Jason      USDC Northern District of Illinois   1:14-cv-03191   14-cv-01748
Witter       Wayne      USDC Northern District of Illinois   1:14-cv-03623   14-cv-01748
Wood         David      USDC Northern District of Illinois   1:15-cv-01748   14-cv-01748
Wooden       Samuel     USDC Northern District of Illinois   1:15-cv-00983   14-cv-01748
Woody        Larry      USDC Northern District of Illinois   1:16-cv-04889   14-cv-01748
Yeaman       Arnold     USDC Northern District of Illinois   1:15-cv-03171   14-cv-01748
Zillmer      Randy      USDC Northern District of Illinois   1:15-cv-06489   14-cv-01748




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 1                                 CERTIFICATE OF SERVICE

 2         I hereby certify that a copy of the foregoing was electronically filed through the Court’s

 3   CM/ECF system on December 7, 2018, which shall send notification of such filing to all

 4   CM/ECF participants.

 5
                                                /s/Rachel Abrams
 6                                              Rachel Abrams
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